             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                         CIVIL NO. 1:07CV127-1-T
                                (1:02CR04)

HARRY N. MOODY,                  )
                                 )
              Petitioner,        )
                                 )
         v.                      )                      ORDER
                                 )
UNITED STATES OF AMERICA,        )
                                 )
              Respondent.        )
________________________________)

      THIS MATTER is before the Court on the Government’s motion to file

its response to the Petitioner's motion to vacate, set aside, or correct

sentence pursuant to 28 U.S.C. § 2255 out of time.

      For the reasons stated in the motion and for cause shown,

      IT IS, THEREFORE, ORDERED that the Government’s motion is

ALLOWED, and its answer filed July 3, 2007, is deemed timely filed.


                                      Signed: July 3, 2007




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